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                     IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION


UNITED STATES OF AMERICA                                                PLAINTIFF

vs.                          NO. 4:12CR00170-006 SWW

KRISTIAN HOGAN                                                          DEFENDANT

                                         ORDER

       The above entitled cause came on for hearing October 19, 2015 on the government’s

superseding petition to revoke the probation previously granted this defendant in the United

States District Court for the Eastern District of Arkansas. Based upon the admissions of

defendant, the Court found that defendant has violated the conditions of probation without

just cause.

       IT IS THEREFORE ORDERED AND ADJUDGED that the government’s

superseding motion to revoke probation [doc #265] is granted and the probation previously

granted this defendant, hereby, is revoked.

       IT IS FURTHER ORDERED that defendant shall serve a term of imprisonment of

EIGHT (8) MONTHS in the custody of the Bureau of Prisons. The Court recommends that

defendant be incarcerated in Springfield, Missouri or another medical facility where

defendant will receive treatment for Hepatitis C. It is further recommended that defendant

participate in non-residential substance abuse treatment and mental health counseling during

incarceration.

       There will be TWO (2) YEARS of supervised release following the term of
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incarceration.   All general and standard conditions of supervised release previously

imposed remain in full force and effect and shall include the following special conditions:

       1. Defendant shall reside and participate in a residential re-entry center under
       the guidance and supervision of the U. S. Probation Office for a period of SIX
       (6) MONTHS and will abide by all the rules and regulations of that facility.

       2. Defendant shall participate, under the guidance and supervision of the U. S.
       Probation Officer, in a substance abuse treatment program which may include
       testing, out-patient counseling, and/or residential treatment. Further, defendant shall
       abstain from the use of alcohol throughout the course of supervision. The defendant
       will pay for the cost of treatment at the rate of $10 per session, with the total cost not
       to exceed $40 per month, based on ability to pay as determined by the probation
       office. In the event the defendant is financially unable to pay for the cost of
       treatment, the co-pay requirement will be waived. (This special condition overrides
       the 7th Standard Condition of Supervision on the Judgment and Commitment order
       regarding alcohol consumption).

       3. The defendant shall participate in mental health counseling under the guidance and
       supervision of the U. S. Probation Office. The defendant will pay for the cost of
       treatment at the rate of $10 per session, with the total cost not to exceed $40 per
       month, based on ability to pay as determined by the probation office. In the event the
       defendant is financially unable to pay for the cost of treatment, the co-pay
       requirement will be waived.

       The defendant is remanded to the custody of the U. S. Marshal Service.

       IT IS SO ORDERED this 19th day of October 2015.

                                                   /s/Susan Webber Wright

                                                   United States District Judge
